                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )      Case Nos. 1:02-CR-25
vs.                                                 )
                                                    )
CHRISTY MORELOCK                                    )      JUDGE EDGAR


                               MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on February 4, 2010, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant
for Offender Under Supervision of U.S. Probation Officer Anthony Green and the Warrant for Arrest
issued by U.S. District Judge R. Allan Edgar. Those present for the hearing included:

              (1) AUSA Terra Bay for the USA.
              (2) The defendant CHRISTY MORELOCK.
              (3) USPO Anthony Green.
              (4) Attorney Mary Ellen Coleman for defendant.
              (5) Deputy Clerk Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of her
privilege against self-incrimination accorded her under the 5th Amendment to the United States
Constitution.

        It was determined the defendant wished to be represented by an attorney and she qualified
for the appointment of an attorney to represent her at government expense. Attorney Mary Ellen
Coleman of Federal Defender Services was appointed to represent the defendant. It was determined
the defendant had been provided with a copy of the Petition for Warrant for Offender Under
Supervision and the Warrant for Arrest and had the opportunity of reviewing those documents with
Atty. Coleman. It was also determined the defendant was capable of being able to read and
understand the copy of the aforesaid documents she had been provided.

       AUSA Bay called USPO Anthony Green as a witness and moved that the defendant be
detained pending the revocation hearing.

                                            Findings

       (1) Based upon USPO Green’s testimony, the undersigned finds there is probable
       cause to believe defendant has committed violations of her conditions of supervised
       release as alleged or set forth in the Petition.

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     (2) The defendant has not carried her burden under Rule 32.1(a)(6) of the Federal
     Rules of Criminal Procedure, that if released on bail she will not flee or will not pose
     a danger to the community.

                                          Conclusions

     It is ORDERED:

     (1) The motion of AUSA Bay that the defendant be DETAINED WITHOUT BAIL
     pending the revocation hearing before U.S. District Judge Curtis L. Collier is
     GRANTED.

     (2) The U.S. Marshal shall transport CHRISTY MORELOCK to a revocation hearing
     before Judge Collier on Thursday, March 4, 2010, at 9:00 am.

     ENTER.

     Dated: February 5, 2010                        s/William B. Mitchell Carter
                                                    UNITED STATES MAGISTRATE JUDGE




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